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1                            UNITED STATES DISTRICT COURT
2                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
3
4         UNITED STATES OF AMERICA,                     No. CR 2:24-cr-00091-ODW
5         Plaintiff,
6         v.                                            [PROPOSED] ORDER
7         ALEXANDER SMIRNOV,
8         Defendant.
9
10
11         Upon Consideration of the Defendant’s Motion in Limine to Preclude Evidence
12   from Defendant’s FBI Interview on September 27, 2023 [ECF No. 149], and the
13   Government’s Response thereto, the Court denies the Motion for the reasons stated in the
14   Government’s Response.
15
16         Dated: ________________               SO ORDERED
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18                                               ____________________________
19                                               The Honorable Otis D. Wright, III
20                                               United States District Judge
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